                  Case 1:18-cv-02478-APM Document 21-6 Filed 11/22/19 Page 1 of 3


Rebecca Cooper

From:                               Daniel Wood
Sent:                               Tuesday, November 19, 2019 12:02 PM
To:                                 Rodney Patrick; Charles Tucker, Jr
Cc:                                 Khadijah Able; Sam Zurik; Rebecca Cooper; Rebecca Teixeira; Jessica Marrero; Jessica A
                                    Johnston
Subject:                            RE: Victor v CSRA - Deposition Notice for Erica Taylor


Counsel,

Recall Ms. Victor’s deposition was held open pending Plaintiff’s production in native format of responsive text messages
she identified in the deposition but had not previously produced. These documents include extensive communications
with then co-worker Erica Taylor. I am writing to check on the status of this production. Ms. Taylor’s deposition is set
tomorrow per subpoena, and we will need the information sufficiently in advance of that deposition to review and use
if/as needed. Please advise. Thanks,

F. Daniel Wood Jr.
THE KULLMAN FIRM
P: 205-263-0222
fdw@kullmanlaw.com




From: Jessica Marrero <JLM@kullmanlaw.com>
Sent: Friday, November 15, 2019 3:23 PM
To: Rodney Patrick <rodney@tuckerlawgroupllp.com>; Jessica A Johnston <jaj@kullmanlaw.com>
Cc: Charles Tucker, Jr <charles@tuckerlawgroupllp.com>; Khadijah Able <khadijah@tuckerlawgroupllp.com>; Sam Zurik
<SZ@kullmanlaw.com>; Rebecca Cooper <mrc@kullmanlaw.com>; Daniel Wood <FDW@kullmanlaw.com>; Rebecca
Teixeira <RJT@kullmanlaw.com>
Subject: RE: Victor v CSRA - Deposition Notice for Erica Taylor

Hi Rodney and Charles –

Erica Taylor has requested that we move her deposition to November 20 th. We will issue an updated notice for
November 20th for the same time and location (11:00 a.m. ET at Hogan Lovells) under separate cover.

Regards,
Jess

Jessica L. Marrero, Esq.
THE KULLMAN FIRM
Direct Dial: 504-596-4137 | F: 504-596-4114
JLM@KullmanLaw.com

From: Rodney Patrick <rodney@tuckerlawgroupllp.com>
Sent: Wednesday, November 13, 2019 3:37 PM
To: Jessica A Johnston <jaj@kullmanlaw.com>
Cc: Charles Tucker, Jr <charles@tuckerlawgroupllp.com>; Khadijah Able <khadijah@tuckerlawgroupllp.com>; Sam Zurik
<SZ@kullmanlaw.com>; Rebecca Cooper <mrc@kullmanlaw.com>; Daniel Wood <FDW@kullmanlaw.com>; Rebecca

                                                              1
                                                                                EXHIBIT E
                      Case 1:18-cv-02478-APM Document 21-6 Filed 11/22/19 Page 2 of 3
Teixeira <RJT@kullmanlaw.com>; Jessica Marrero <JLM@kullmanlaw.com>
Subject: Re: Victor v CSRA - Deposition Notice for Erica Taylor

Received.

On Wed, Nov 13, 2019 at 4:36 PM Jessica A Johnston <jaj@kullmanlaw.com> wrote:

 Dear Mr. Patrick:



 Please see attached subpoena and deposition notice for Ms. Taylor.



 Regards,




 JESSICA A. JOHNSTON

 Legal Assistant / Paralegal

 THE KULLMAN FIRM

 A Professional Law Corporation

 1100 Poydras Street, Suite 1600

 New Orleans, LA 70163

 T: 504-524-4162 | D: 504-596-4158 | F: 504-596-4114

 JAJ@kullmanlaw.com | www.KullmanLaw.com




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                Case 1:18-cv-02478-APM Document 21-6 Filed 11/22/19 Page 3 of 3
Rodney Patrick | Associate Attorney


Tucker|Moore Group, LLP
8181 Professional Place Suite 207 | Hyattsville, MD 20785

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rodney@tuckerlawgroupllp.com | www.tuckermoorelaw.com

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